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                                                                          United States District Court
                                                                            Southern District of Texas

                                                                               ENTERED
                                                                              March 26, 2020
                     UNITED STATES DISTRICT COURT
                                                                            David J. Bradley, Clerk
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                          GALVESTON DIVISION

TERRY AUSAMA                                §
                                            §
       v.                                   §    CIVIL ACTION NO. 3:19-cv-00015
                                            §
ARENA OFFSHORE, LP, ET AL                   §

   ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION FOR LEAVE
       TO FILE RESPONSE IN EXCESS OF TWENTY-FIVE PAGES

       Before the Court is Plaintiff Terry Ausama’s unopposed motion to file a response

to the summary-judgment motion filed by Defendants Arena Offshore, LP and Arena

Offshore Operating, LLC that exceeds the twenty-five page limit by twelve pages. The

motion is GRANTED.

      Signed on Galveston Island this 26th day of March, 2020.


                                                _____________________________
                                                JEFFREY VINCENT BROWN
                                                UNITED STATES DISTRICT JUDGE
